867 F.2d 608Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.James M. BULLOCK, Petitioner-Appellant,v.Charles THOMPSON, Warden, Respondent-Appellee.
    No. 88-7146.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Dec. 21, 1988.Decided:  Jan. 17, 1989.
    
      James M. Bullock, appellant pr se.
      Thomas Drummond Bagwell (Office of the Attorney General), for appellee.
      Before DONALD RUSSELL and SPROUSE, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      James M. Bullock seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the magistrate's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the magistrate.  Bullock v. Thompson, C/A No. 88-0034-R (E.D.Va. May 3, 1988).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    